                 Case 1-18-40808-cec              Doc 14        Filed 05/27/18          Entered 05/28/18 00:18:09

                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 18-40808-cec
Jennifer L Kubiak                                                                                          Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: admin                        Page 1 of 2                          Date Rcvd: May 25, 2018
                                      Form ID: 318DF7                    Total Noticed: 21


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 27, 2018.
db              Jennifer L Kubiak,    155 Woodcutters Ln,    Staten Island, NY 10306-6147
smg            +NYC Department of Finance,    345 Adams Street,    Office of Legal Affairs,
                 Brooklyn, NY 11201-3739
smg            +NYS Unemployment Insurance,    Attn: Insolvency Unit,     Bldg. #12, Room 256,
                 Albany, NY 12240-0001
9196303         LAC Collections,    PO Box 2240,    Burlington, NC 27216-2240
9196304       ++MALEN & ASSOCIATES PC,    123 FROST STREET,    SUITE 203,    WESTBURY NY 11590-5027
               (address filed with court: Malen & Associates,      123 Frost St,    Westbury, NY 11590-5030)
9196310         Visa Dept Store National Bank/Macy’s,     Attn: Bankruptcy,    PO Box 8053,
                 Mason, OH 45040-8053
9196311         Vnb- Loan Services Inc,    747 Chestnut Ridge Rd,    Chestnut Ridge, NY 10977-6224
9196312         Vnb/Loan Svs,    PO Box 1015,    Spring Valley, NY 10977-0815
9196299         clove lakes ent PC,    PO Box 4926,    Belfast, ME 04915-4900

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov May 25 2018 18:33:03
                 NYS Department of Taxation & Finance,    Bankruptcy Unit,    PO Box 5300,
                 Albany, NY 12205-0300
smg            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov May 25 2018 18:32:50
                 Office of the United States Trustee,    Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,    201 Varick Street, Suite 1006,    New York, NY 10014-9449
9196298         EDI: CAPITALONE.COM May 25 2018 22:23:00      Capital One,    15000 Capital One Dr,
                 Richmond, VA 23238-1119
9196297         EDI: CAPITALONE.COM May 25 2018 22:23:00      Capital One,
                 Attn: General Correspondence/Bankruptcy,    PO Box 30285,    Salt Lake City, UT 84130-0285
9196300         EDI: WFNNB.COM May 25 2018 22:23:00      Comenitycapital/zales,    Comenity Bank,   PO Box 182125,
                 Columbus, OH 43218-2125
9196301         EDI: WFNNB.COM May 25 2018 22:23:00      Comenitycb/zales,    PO Box 182120,
                 Columbus, OH 43218-2120
9196302         EDI: TSYS2.COM May 25 2018 22:23:00      Dsnb Macys,   PO Box 8218,    Mason, OH 45040-8218
9196305         EDI: MID8.COM May 25 2018 22:23:00      Midland Funding,   2365 Northside Dr Ste 30,
                 San Diego, CA 92108-2709
9196306         EDI: MID8.COM May 25 2018 22:23:00      Midland Funding,   2365 Northside Dr Ste 300,
                 San Diego, CA 92108-2709
9196308         EDI: PRA.COM May 25 2018 22:23:00      Portfolio Recovery Associates LLC,    PO Box 41067,
                 Norfolk, VA 23541-1067
9196307         EDI: PRA.COM May 25 2018 22:23:00      Portfolio Recov Assoc,    120 Corporate Blvd Ste 1,
                 Norfolk, VA 23502-4952
9196309         EDI: AISTMBL.COM May 25 2018 22:23:00      T-Mobile,   PO Box 37380,
                 Albuquerque, NM 87176-7380
                                                                                              TOTAL: 12

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 27, 2018                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING
             Case 1-18-40808-cec        Doc 14    Filed 05/27/18     Entered 05/28/18 00:18:09




District/off: 0207-1         User: admin                 Page 2 of 2                   Date Rcvd: May 25, 2018
                             Form ID: 318DF7             Total Noticed: 21


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 25, 2018 at the address(es) listed below:
              Kevin B Zazzera   on behalf of Debtor Jennifer L Kubiak kzazz007@yahoo.com
              Office of the United States Trustee   USTPRegion02.BR.ECF@usdoj.gov
              Paul I. Krohn   paul.krohn.7trustee@gmail.com, N164@ecfcbis.com
                                                                                            TOTAL: 3
              Case 1-18-40808-cec                     Doc 14   Filed 05/27/18     Entered 05/28/18 00:18:09


Information to identify the case:
Debtor 1              Jennifer L Kubiak                                         Social Security number or ITIN   xxx−xx−4523
                      First Name   Middle Name   Last Name                      EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                        Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of New York

Case number: 1−18−40808−cec



Order of Discharge and Final Decree                                                                              Revised: 12/15



IT IS ORDERED:

A discharge under 11 U.S.C. § 727 is granted to:

           Jennifer L Kubiak
           aka Jennifer Lynne Kubiak




IT IS FURTHER ORDERED:
        • Paul I. Krohn (Trustee) is discharged as trustee of the estate of the above−named debtor(s) and
          the bond is cancelled.

        • The Chapter 7 case of the above−named debtor(s) is closed.



                                                                    BY THE COURT

Dated: May 25, 2018                                                 s/ Carla E. Craig
                                                                    United States Bankruptcy Judge




                          SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




Official Form 318DF7                         Chapter 7 Order of Discharge and Final Decree                   page 1
          Case 1-18-40808-cec          Doc 14     Filed 05/27/18       Entered 05/28/18 00:18:09


                             EXPLANATION OF BANKRUPTCY DISCHARGE
                                      IN A CHAPTER 7 CASE
      This court order grants a discharge to the person(s) named as the debtor(s). It is not a dismissal of
the case and it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged.
For example, a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue
a lawsuit, to attach wages or other property, or to take any other action to collect a discharged debt from
the debtor(s). A creditor who violates this order can be required to pay damages and attorney's fees to the
debtor(s).

       However, a creditor may have the right to enforce a valid lien, such as a mortgage or security
interest, against the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the
bankruptcy case. Also, a debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged
        The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was
filed. (If this case was begun under a different chapter of the Bankruptcy Code and converted to chapter 7,
the discharge applies to debts owed when the bankruptcy case was converted.)

Debts That are Not Discharged

    Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

    a. Debts for most taxes;

    b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

    c. Debts that are domestic support obligations;

    d. Debts for most student loans;

    e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

    f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or
    aircraft while intoxicated;

    g. Some debts which were not properly listed by the debtor;

    h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are
    not discharged;

    i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation
    agreement in compliance with the Bankruptcy Code requirements for reaffirmation of debts;

    j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift
    Savings Plan for federal employees for certain types of loans from these plans (in a case filed on or
    after October 17, 2005).

        In addition, this discharge does not stop creditors from collecting from anyone else who is also
liable on the debt, such as an insurance company or a person who cosigned or guaranteed a loan.

      This information is only a general summary of the bankruptcy discharge. There are
exceptions to these general rules. Because the law is complicated, you may want to consult an
attorney to determine the exact effect of the discharge in this case.

Official Form 318DF7             Chapter 7 Order of Discharge and Final Decree                 page 2
